                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                       CIVIL ACTION NO: 3:14-CV-00027-RJC-DCK

CRUM & FORSTER SPECIALTY                              )
INSURANCE COMPANY,                                    )
                                                      )
                       Plaintiff,                     )
                                                      )
       v.                                             )
                                                      )
THE EDGE INVESTORS, L.P.,                             )
                                                      )
                       Defendant.                     )
                                                      )

  DEFENDANT’S BRIEF IN SUPPORT OF ITS MOTION TO DISMISS PLAINTIFF’S
               COMPLAINT FOR DECLARATORY RELIEF

       The Edge Investors, L.P. (“The Edge”), defendant in the above-styled civil action, hereby

submits this brief in support of its Motion to Dismiss plaintiff Crum & Forster Specialty

Insurance Company’s (“Crum & Forster”) Complaint for Declaratory Relief (the “Complaint”)

under Rules 12(b)(2) and 12(b)(3) of the Federal Rules of Civil Procedure. As more fully set

forth herein:

       1.       This Court should dismiss the Complaint under Rule 12(b)(2) of the
                Federal Rules of Civil Procedure because The Edge is not subject to
                personal jurisdiction in North Carolina. The Edge is a Georgia limited
                partnership whose business involves a condominium construction project
                located in Florida, and The Edge does not conduct business activities in
                North Carolina; or,

       2.       This Court should dismiss the Complaint under Rule 12(b)(3) of the
                Federal Rules of Civil Procedure because this action was brought in an
                improper venue, or in the alternative, transfer this action to a proper venue
                under 28 U.S.C. 1406(a), or

       3.       This Court should transfer this action under 28 U.S.C. § 1404(a) to a more
                proper venue.

ORAL ARGUMENT REQUESTED



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I.      BACKGROUND

        This action arises out of Crum & Forster’s obligations under certain commercial general

liability insurance policies insuring The Edge in connection with a condominium construction

project located in West Palm Beach, Florida, known as The Edge No. One Condominium (the

“Condominium”).          On or about May 6, 2013, 1 the condominium association for the

Condominium commenced an action against The Edge, and others, captioned The Edge No. One

Condominium Association v. The Edge Investors, L.P., et al, In the Circuit Court of the 15th

Judicial Circuit, In and For Palm Beach County, Florida, Case No.: 502013CA007785XXXXMB

(the “Underlying Action”). See Complaint at Exhibit A. The condominium association alleges

that the Condominium 2 sustained property damage to individual units and the common elements

resulting from the alleged negligence of The Edge, as developer of the Condominium.

Complaint at Exhibit A ¶¶ 5, 45-46. Similar allegations were made against a general contractor

regarding the construction of the Condominium, Coastal Construction Services, LLC, a Florida

limited liability company. Complaint at Exhibit A ¶¶ 13, 49-50.

        Despite: 1) the location of the Condominium; 2) The Edge’s status as a Georgia limited

partnership; and 3) the Condominium’s and the Underlying Action’s Florida location, Crum &

Forster commenced this action in North Carolina. It appears that Crum & Forster has done this

for the purpose of obtaining some perceived advantage regarding the outcome of this insurance

coverage dispute (i.e., forum shopping).




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  The plaintiff in the Underlying Action filed an Amended Complaint against The Edge on or about July 9, 2013. It
should also be noted that in its Complaint, Crum & Forster erroneously alleged that the Underlying Action was
commenced on or about November 4, 2009. Complaint ¶ 11.
2
  The Condominium is a 16 story residential tower, containing three hundred and seven residential (307) units, with
a multiple level parking garage and common areas.
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II.    LAW AND ARGUMENT

       A.      This Court Should Dismiss the Complaint under Rule 12(b)(2) of the Federal
               Rules of Civil Procedure Because The Edge is Not Subject to Personal
               Jurisdiction in North Carolina
       As this Court has stated, “[i]n evaluating a motion to dismiss for lack of personal

jurisdiction all factual disputes must be resolved in favor of the non-moving party. [However,]

[t]hat party must make a prima facie showing that exercise of personal jurisdiction is proper.

Andritz Hydro Corporation v. PPL Montana, LLC, 2013 WL 5574923 *4 (W.D.N.C. Oct. 10,

2013) (citations omitted). It is Crum & Forster’s burden to establish that this Court has personal

jurisdiction over The Edge by a preponderance of the evidence. See Mercam, Inc. v. Portlyn,

Inc., 2007 WL 152121 *5 (W.D.N.C. Jan. 17, 2007), citing Combs v. Bakker, 886 F.2d 673, 676

(4th Cir. 1989).

        This Court has further stated that:

               Analysis of personal jurisdiction has traditionally involved two
               determinations: “whether the [particular state's] long-arm statute
               authorizes the exercise of jurisdiction in the circumstances presented and .
               . . whether the exercise of jurisdiction comports with Fourteenth
               Amendment due process standards.”

Andritz at *4, quoting Ellicott Machine Corporation, Inc. v. John Holland Party Limited, 995

F.2d 474, 477 (4th Cir.1993).

               1.     North Carolina’s long-arm statute does not authorize the exercise of
                      personal jurisdiction in this matter

       In its Complaint, Crum & Forster has not alleged personal jurisdiction under North

Carolina’s long-arm statute, N.C. Gen. Stat. § 1-75.4. Instead, it has only alleged proper venue

under 28 U.S.C. § 1391. Even a cursory review of North Carolina’s long-arm statute reveals that

it does not authorize personal jurisdiction over The Edge.

       The Edge is a Georgia limited partnership with a principal place of business in Atlanta,

Georgia, and its business involves a condominium construction project located in West Palm

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Beach, Florida. Dec. Melanie Waters ¶¶ 4 & 5; Ex. A. Further, The Edge does not conduct

business activities in North Carolina. Dec. M. Waters ¶ 6.

       The only mention of North Carolina in this entire action is Crum & Forster’s allegations

in its Complaint that the commercial general liability policies insuring The Edge were allegedly

“issued by Crum & Forster in the State of North Carolina to Wood Real Estate Investors,” and

that “[a]t all relevant times to this Complaint, Wood Real Estate Investors was a North Carolina

corporation with its principal place of business in the State of North Carolina.” Complaint ¶¶ 4-

5. However, Wood Real Estate Investors, LLC is neither a party to this action, nor a party to the

Underlying Action. Accordingly, insurance coverage for Wood Real Estate Investors, LLC in

connection with the Underlying Action is not implicated in this action. Also, and contrary to

Crum & Forster’s allegations, at all relevant times, Wood Real Estate Investors, LLC was not a

North Carolina corporation or entity, and did not have its principal place of business in North

Carolina. Dec. M. Waters ¶ 7.

       It is also important to note that all communication from Crum & Forster to The Edge

regarding the Underlying Action and The Edge’s claim for coverage was made to The Edge in

Georgia. Dec. M. Waters ¶ 8. Moreover, all communication from The Edge to Crum & Forster

regarding the Underlying Action and The Edge’s claim for coverage was made from The Edge in

Georgia. Dec. M. Waters ¶ 9. No communication between Crum & Forster and The Edge

regarding the Underlying Action or The Edge’s claim for coverage occurred in North Carolina.

Dec. M. Waters ¶ 10.




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         N.C. Gen. Stat. § 1-75.4 provides: 3

                  A court of this State having jurisdiction of the subject matter has
                  jurisdiction . . . under any of the following circumstances:

                  (1) Local Presence or Status.--In any action, whether the claim arises
                  within or without this State, in which a claim is asserted against a party
                  who when service of process is made upon such party:

                           a. Is a natural person present within this State; or

                           b. Is a natural person domiciled within this State; or

                           c. Is a domestic corporation; or

                           d. Is engaged in substantial activity within this State, whether such
                           activity is wholly interstate, intrastate, or otherwise.

         As set forth above, The Edge is not a natural person present or domiciled within North

Carolina.     Also, it is not a North Carolina domestic corporation, and it is not engaged in

substantial activity within this state. Instead, The Edge 1) is a Georgia limited partnership with a

principal place of business in Georgia, 2) its business involves a condominium construction

project located in Florida, and 3) it does not conduct business activities in North Carolina.

         N.C. Gen. Stat. § 1-75.4 also includes within its authority:

                  (5) Local Services, Good or Contracts--In any action which:

                           a. Arises out of a promise, made anywhere to the plaintiff or to
                           some third party for the plaintiff's benefit, by the defendant to
                           perform services within this State or to pay for services to be
                           performed in this State by the plaintiff; or

                           b. Arises out of services actually performed for the plaintiff by the
                           defendant within this State, or services actually performed for the
                           defendant by the plaintiff within this State if such performance
                           within this State was authorized or ratified by the defendant; or



3
  For the sake of brevity, only certain sections of North Carolina’s long-arm statute are discussed herein; those
which The Edge believes Crum & Forster may attempt to raise as a basis for application of North Carolina’s long-
arm statute. Sections not specifically referenced herein also do not apply, but to the extent Crum & Forster raises
any such sections in response to this Brief, The Edge reserves its right to address any such other sections in reply to
any response by Crum & Forster.
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                       c. Arises out of a promise, made anywhere to the plaintiff or to
                       some third party for the plaintiff's benefit, by the defendant to
                       deliver or receive within this State, or to ship from this State
                       goods, documents of title, or other things of value; or

                       d. Relates to goods, documents of title, or other things of value
                       shipped from this State by the plaintiff to the defendant on his
                       order or direction; or

                       e. Relates to goods, documents of title, or other things of value
                       actually received by the plaintiff in this State from the defendant
                       through a carrier without regard to where delivery to the carrier
                       occurred.

The foregoing section of North Carolina’s long-arm statute also plainly does not confer

jurisdiction over The Edge in North Carolina. That section primarily deals with service contracts

and contracts for the sale of goods where performance by one or both parties is to occur in North

Carolina. It plainly does not apply to insurance contracts. Instead, N.C. Gen. Stat. § 1-75.4

specifically addresses insurance contracts in a separate section as follows:

               (10) Insurance or Insurers.--In any action which arises out of a contract of
               insurance as defined in G.S. 58-1-10 made anywhere between the plaintiff
               or some third party and the defendant and in addition either:

                       a. The plaintiff was a resident of this State when the event occurred
                       out of which the claim arose; or

                       b. The event out of which the claim arose occurred within this
                       State, regardless of where the plaintiff resided.

It is apparent that the foregoing section also does not apply in this matter. First, commercial

general liability insurance policies do not appear to be included in the definition of “a contract of

insurance” as defined in N.C. Gen. Stat. 58-1-10. That statute defines a contract of insurance as

“an agreement by which the insurer is bound to pay money or its equivalent or to do some act of

value to the insured upon, and as an indemnity or reimbursement for the destruction, loss, or

injury of something in which the other party has an interest.” However, the applicable coverage

issues under the policies issued by Crum & Forster relate to “destruction, loss, or injury” to the

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condominium association and individual unit owners’ property located in Florida, as to which

The Edge has no interest.

          Second, even if the commercial general liability policies involved in this action fell

within N.C. Gen. Stat. 58-1-10, Crum & Forster was neither a resident of North Carolina when

the event out of which the claim arose occurred, nor did the event out of which the claim arose

occur in this state. In fact, Crum & Forster has stated that it was and is an Arizona corporation

with a principal place of business in New Jersey. Complaint ¶ 2. Also, the Condominium that

forms the basis of the insurance claim is located in Florida. Accordingly, North Carolina’s long-

arm statute does not apply.

                 2.      The Exercise of Jurisdiction over The Edge in North Carolina Does
                         Not Comport with the Due Process Standards of the Fourteenth
                         Amendment to the U.S. Constitution

          It is clear from the above-discussion that North Carolina’s long-arm statute does not

apply to The Edge. Moreover, the exercise of jurisdiction by this Court does not comport with

the Fourteenth Amendment to the U.S. Constitution due process standards. This Court has

recognized that because “the North Carolina long-arm statute [N.C. Gen.Stat. § 1–75.4] has been

interpreted as the legislature's attempt to allow the exercise of personal jurisdiction in all cases

where such jurisdiction does not contravene due process, the normal two-step inquiry merges

into one.” Andritz at *4, citing Dillon v. Numismatic Funding Corporation., 291 N.C. 674, 676

(1977).

          As stated by this Court in Andritz at *4, “[t]he exercise of personal jurisdiction comports

with due process when the defendant purposefully established minimum contacts in the forum

state . . . . [and the] exercise of personal jurisdiction must also comport with traditional notions

of fair play and substantial justice.” (quotations and citations omitted). Personal jurisdiction

may be general or specific. Id. at *5. General personal jurisdiction exists where the non-resident

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defendant has had continuous and systematic contact with the forum state, even if the action does

not arise out of the non-resident defendant's contact with the forum state.” Id. (citations omitted).

       Andritz involved a non-resident defendant’s solicitation of a bid from a North Carolina

plaintiff “to engineer, design, fabricate, deliver, install, construct, test and commission a turbine-

generator and related equipment” for a project located in Montana. Id. at *3. The defendant

knew that the bid would be prepared in North Carolina, and that the related design work would

also be performed in North Carolina. Id. at *6. Various meetings also occurred between the

defendant and the plaintiff in North Carolina. Id. at *3.

       Based on the foregoing facts, this Court stated in Andritz that the defendant had “not had

continuous and systematic contact with North Carolina.” Id. at *5. That holding is dispositive in

this case because The Edge had even less contact with this state, if any, than the defendant did in

Andritz. In the instant matter, the Condominium project and the Underlying Action are located

in Florida, and all communication from and to The Edge regarding its claim occurred in Georgia.

Accordingly, general personal jurisdiction does not exist.

       As to specific personal jurisdiction, this Court has stated that “[w]hen a court asserts

specific jurisdiction over a non-resident defendant, the due process requirement of fair warning

still mandates that the non-resident defendant have purposefully availed itself of the privilege of

conducting activities within the forum state.” Id., citing Burger King Corporation v. Rudzewicz,

471 U.S. 462, 478-79 (1985). It has also been noted that:

               The Fourth Circuit has “synthesized the due process requirement for
               asserting specific personal jurisdiction in a three-part test . . . (1) the extent
               to which the defendant purposefully availed itself of the privilege of
               conducting activities in the State; (2) whether the plaintiffs' claims arise
               out of those activities directed at the State; and (3) whether the exercise of
               personal jurisdiction would be constitutionally reasonable.




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Andritz at *5, citing Consulting Engineers Corporation v. Geometric Limited, 561 F.3d 273, 278

(4th Cir. 2009).

       Applying the stated test, The Edge clearly has not purposely availed itself of the privilege

of conducting activities in North Carolina. The Edge’s business involves the construction of the

Condominium in Florida through a Florida general contractor. The Edge does not conduct

business activities in North Carolina. Therefore, Crum & Forster’s Complaint cannot arise out of

activities directed at North Carolina because there were no activities in this state.

       As to the third element of the relevant test, it has been noted that:

               In determining whether jurisdiction is constitutionally reasonable, courts
               are to consider factors such as: (1) the burden on the defendant of
               litigating in the forum; (2) the interest of the forum state in adjudicating
               the dispute; (3) the plaintiff's interest in obtaining convenient and effective
               relief; (4) the shared interest of the states in obtaining efficient resolution
               of disputes; and (5) the interests of the states in furthering substantive
               social policies.

Id., citing Consulting Engineers, 561 F.3d at 279.

       In this case, it is inherently unreasonable to assert that North Carolina has more of an

interest in this insurance coverage dispute than either Georgia (where The Edge is a limited

partnership) or Florida (where the Plaintiff in the Underlying Action seeks damages from The

Edge to be satisfied under the commercial general liability policies issued by Crum & Forster).

Moreover, Crum & Forster is an Arizona corporation with a principal place of business in New

Jersey and, thus, has no reason to seek relief in North Carolina in connection with its obligation

to The Edge. Crum & Forster could have brought this action in Georgia or Florida, but it did not.

It is, therefore, assumed that Crum & Forster’s motive is some perceived procedural advantage in

filing this action in North Carolina.




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       Simply put, none of the Constitutional due process requirements for personal jurisdiction

over The Edge in North Carolina have been met, and therefore, this case must be dismissed

under Rule 12(b)(2).

       B.         The Court Should Dismiss the Complaint under Rule 12(b)(3) of the Federal
                  Rules of Civil Procedure Because this Action was Brought in an Improper
                  Venue

       When the Court’s jurisdiction is alleged to be based on diversity of citizenship pursuant

to 28 U.S.C. § 1332 (See Complaint ¶ 6), 28 U.S.C. § 1391(a) provides that venue is only

appropriate in:

                  (1) a judicial district where any defendant resides, if all defendants reside
                  in the same State,

                  (2) a judicial district in which a substantial part of the events or omissions
                  giving rise to the claim occurred, or a substantial part of property that is
                  the subject of the action is situated, or

                  (3) a judicial district in which any defendant is subject to personal
                  jurisdiction at the time the action is commenced, if there is no district in
                  which the action may otherwise be brought.

See Mercam at *6. “The burden lies with the plaintiff to establish that venue is proper in the

judicial district in which the plaintiff has brought the action . . . .” Hackos v. Sparks, 378 F.

Supp. 2d 632, 634 (M.D.N.C. 2005).

       First, § 1391(a)(1) does not apply because The Edge does not reside in the Western

District of North Carolina, or any other district in North Carolina. Therefore, that section can be

easily dismissed.

       Second, § 1391(a)(2) is inapplicable because Crum & Forster has not alleged that “a

substantial part of the events or omissions giving rise to the claim occurred, or a substantial part

of property that is the subject of the action is situated,” in the Western District of North Carolina,

or any other district in North Carolina. Again, 1) The Edge is a Georgia limited partnership with

a principal place of business in Georgia, 2) all communication from Crum & Forster to The Edge
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regarding the Underlying Action and The Edge’s claim for coverage was made to The Edge in

Georgia, and 3) all communication from The Edge to Crum & Forster regarding the Underlying

Action and The Edge’s claim for coverage was made from The Edge in Georgia. Also, Crum &

Forster has only sought a declaration regarding its duties to defend and indemnify The Edge in

the Underlying Action which is pending in Florida and pertains to a Florida construction project.

        Finally, § 1391(a)(3) does not apply because, as established above, this Court lacks

personal jurisdiction over The Edge.

        Undoubtedly, there are other districts where this action could have been brought; most

notably, the Northern District of Georgia. It must be recognized that 28 U.S.C. § 1406(a)

provides:

                 The district court of a district in which is filed a case laying venue in the
                 wrong division or district shall dismiss, or if it be in the interest of justice,
                 transfer such case to any district or division in which it could have been
                 brought.

        Accordingly, and to the extent this Court does not dismiss this action for a lack of

personal jurisdiction, this Court should dismiss this action under Rule 12(b)(3) and pursuant to

28 U.S.C. § 1406(a) because it was brought in the wrong district. While The Edge believes that

dismissal under § 1406(a) is more appropriate, in the alternative, this Court should transfer this

action pursuant to § 1406(a) to the Northern District of Georgia (see 28 U.S.C. §§ 1391(a)(1)-

(2)), or to the Southern District of Florida (see 28 U.S.C. § 1391(a)(2)). 4




4
 In any event, any transfer should occur under 28 U.S.C. § 1406(a), not 28 U.S.C. § 1404(a), to ensure that Crum &
Forster does not benefit from its improper choice of venue regarding choice of law considerations. See Manley v.
Engram, 755 F.2d 1463, 1470 (11th Cir. 1985).
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       C.      To the Extent this Court finds the Western District of North Carolina to be a
               Proper Venue for this Action, this Court Should Transfer the Action Under
               28 U.S.C. § 1404(a)

       28 U.S.C. § 1404(a) provides:

               For the convenience of parties and witnesses, in the interest of justice, a
               district court may transfer any civil action to any other district or division
               where it might have been brought or to any district or division to which all
               parties have consented.

As stated in IHFC Properties, LLC v. APA Marketing, Inc., 850 F. Supp. 2d 604, 622-25
(M.D.N.C. 2012) (citations omitted):

               When considering a motion to transfer under section 1404(a), a court
               should weigh the following discretionary factors: (1) the plaintiff's initial
               choice of forum; (2) relative ease of access to sources of proof; (3)
               availability of compulsory process for attendance of unwilling witnesses;
               (4) possibility of a view of the premises, if appropriate; (5) enforceability
               of the judgment, if one is obtained; (6) relative advantage and obstacles to
               a fair trial; (7) other practical problems that make a trial easy, expeditious,
               and inexpensive; (8) administrative difficulties of court congestion; (9)
               local interest in having localized controversies settled at home; (10)
               appropriateness of having a trial of a diversity case in a forum that is at
               home with the state law that must govern the action; and (11) avoidance of
               unnecessary problems with conflicts of laws.

“The moving party bears the burden of establishing that transfer to another venue is proper.” Id.

at 622 (citations omitted).

       Although Crum & Forster chose the Western District of North Carolina in which to file

this action, a plaintiff’s choice of forum receives less weight when the action bears little relation

to the chosen forum. Id. at 623, citing Speed Trac Technologies, Inc. v. Estes Express Lines,

Inc., 567 F.Supp.2d 799, 803 (M.D.N.C. 2008) (finding no relation to the chosen district in an

action alleging breach of contract, among other things, when “the key operative events appeared

to have occurred” outside the district). It has already been mentioned repeatedly herein that this

action involves a Georgia defendant, and a Condominium and Underlying Action located in

Florida. North Carolina has no interest in this matter. Therefore, even if this Court had personal

jurisdiction over The Edge, or even if venue were proper, this action should be transferred “for
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the convenience of parties and witnesses and “in the interest of justice” to the Northern District

of Georgia, where The Edge resides, or to the Southern District of Florida, where the

Condominium is located and where the Underlying Action is pending. All of the relevant

witnesses and/or the allegedly damaged property are located in those venues.

III.     CONCLUSION

         For the reasons set forth herein, this Court should dismiss the Complaint under Rule

12(b)(2) of the Federal Rules of Civil Procedure because The Edge is not subject to personal

jurisdiction in North Carolina.     However, to the extent that this Court finds that personal

jurisdiction over The Edge exists in North Carolina, this Court should dismiss the Complaint

under Rule 12(b)(3) of the Federal Rules of Civil Procedure because this action was brought in

an improper venue. If the Court is not inclined to dismiss the action, it should transfer this action

to a proper venue under 28 U.S.C. § 1406(a). Finally, if the Court finds that personal jurisdiction

exists in North Carolina, and that venue is proper, this Court should transfer this action under 28

U.S.C. § 1404(a) to a more proper venue.

         Respectfully submitted this 7th day of April, 2014.

                                              s/KEVIN P. BRANCH
                                              North Carolina Bar No. 26491
                                              For the Firm
                                              Attorney for Defendant
                                              MCMICKLE, KUREY & BRANCH, L.L.P.
                                              200 South Main Street
                                              Alpharetta, GA 30009
                                              Telephone: (678) 824-7800
                                              Facsimile: (678) 824-7801
                                              Email: kbranch@mkblawfirm.com




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                               s/RYAN M. SUERTH
                               Attorney for Defendant
                               Admitted Pro Hac Vice
                               RYAN SUERTH LLC
                               196 Trumbull Street, Suite 314
                               Hartford, CT 06103
                               Telephone: (860) 241-9201
                               Facsimile: (860) 241-9203
                               Email: rsuerth@ryansuerth.com




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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 7, 2014, I electronically filed DEFENDANT’S BRIEF IN

SUPPORT OF ITS MOTION TO DISMISS PLAINTIFF’S COMPLAINT FOR

DECLARATORY RELIEF with the Clerk of Court using the CM/ECF system which will

automatically send email notification of such filing to the following attorneys of record:

       Blake Adam Palmer
       Carroll McNulty & Kull LLC
       120 Mountain View Boulevard
       P.O. Box 650
       Basking Ridge, NJ 07920
       LEAD ATTORNEY
       PRO HAC VICE
       ATTORNEY TO BE NOTICED

       Denise Marra DePekary
       Carroll McNulty & Kull LLC
       120 Mountain View Boulevard
       P.O. Box 650
       Basking Ridge, NJ 07920
       LEAD ATTORNEY
       PRO HAC VICE
       ATTORNEY TO BE NOTICED

       Meredith E. Woods
       Millberg, Gordon & Stewart PLLC
       1101 Haynes Street, Suite 104
       Raleigh, NC 27608
       ATTORNEY TO BE NOTICED

                                              s/KEVIN P. BRANCH
                                              North Carolina Bar No. 26491
                                              For the Firm
                                              Attorney for Defendant
                                              MCMICKLE, KUREY & BRANCH, L.L.P.
                                              200 South Main Street
                                              Alpharetta, GA 30009
                                              Telephone: (678) 824-7800
                                              Facsimile: (678) 824-7801
                                              Email: kbranch@mkblawfirm.com



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